            Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 1 of 13




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

    ROBERT SMITH, on behalf of himself and          *
    others similarly situated,                      *
                                                    *
          Plaintiff,                                *
                  v.                                *      Civil Action No. 1:23-cv-10575-IT
                                                    *
    ZOLL MEDICAL CORPORATION,                       *
                                                    *
          Defendant.                                *

                                    MEMORANDUM & ORDER

                                           January 25, 2024

         Pending before the court are three competing motions to appoint interim class counsel.

The court finds value in each of the proposals, but appoints Jean S. Martin as Interim Lead Class

Counsel and Jason M. Leviton as Interim Liaison Counsel for the reasons set forth below.

    I.      Background

         Plaintiffs in fifteen putative class actions 1 filed an unopposed motion to consolidate,

stating that the actions all arise “out of the same operative facts—namely the same cybersecurity

incident, which Plaintiffs allege allowed a third-party’s unauthorized access to an internal

computer network housing sensitive data maintained by ZOLL.” Pls.’ Unopposed Motion to

Consolidate Cases (“Pls.’ Mot. to Consolidate”) 3 [Doc. No. 19]. Plaintiffs also asked the court



1
 Smith v. ZOLL Medical Corporation, No. 1:23-cv-10575; Priddy v. ZOLL Medical
Corporation, No. 1:23-cv-10588; McGilberry v. ZOLL Medical Corporation, No. 1:23-cv-10597;
Jemison v. ZOLL Medical Corporation, No. 1:23-cv-10598; Pettaway v. ZOLL Medical
Corporation, No. 1:23-cv-10605; Gerth v. ZOLL Medical Corporation, No. 1:23-cv-10616;
Calvert v. ZOLL Medical Corporation, No. 1:23-cv-10620; Lennon v. ZOLL Medical
Corporation, No. 1:23-cv-10640; Jury v. ZOLL Medical Corporation, No. 1:23-cv-10657;
Becker v. ZOLL Medical Corporation, No. 1:23-cv-10653; Bendriss v. ZOLL Medical
Corporation, No. 1:23-cv-10660; Prosky v. ZOLL Medical Corporation, No. 1:23-cv-10675;
Brown v. ZOLL Medical Corporation, No. 1:23-cv-10702; Pacholczak v. ZOLL Medical
Corporation, No. 1:23-cv-10755; McMahon v. ZOLL Medical Corporation, No. 1:23-cv-10784.
           Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 2 of 13




to set a deadline for applications for appointment of interim class counsel pursuant to Federal

Rule of Civil Procedure 23(g) and the filing of a consolidated complaint following appointment.

Id. The court granted the motion, Order Granting Pls.’ Unopposed Mot. to Consolidate Cases

(“Order Granting Pls.’ Mot. To Consolidate”) [Doc. No. 21], and the three pending applications

for appointment of interim class counsel were timely filed.

        Plaintiffs Robert Smith, John Priddy, Randy McGilberry, Timothy C. Jemison, Quinyotta

N. Pettaway, Nathanial Gerth, Gerald Lennon, Gary Becker, Cathy Jury, Amine M. Bendriss,

Ron Prosky, David Pacholczak, and Barbara Brown (collectively, the “Smith Plaintiffs”) seek

appointment of Jean S. Martin and Terence R. Coates as Interim Lead Counsel and Jason M.

Leviton as Interim Liaison Counsel. Smith Pls.’ Mot. to Appoint Interim Class Counsel (“Smith

Pls.’ Mot.”) [Doc. No. 24]. Plaintiff Jamie Calvert seeks appointment of Ben Barnow as Interim

Lead Counsel and David Pastor as Interim Liaison Counsel. Pl. Calvert’s Mot. to Appoint

Interim Class Counsel (“Calvert’s Mot.”) [Doc. No. 25]. Plaintiff Patricia McMahon seeks

appointment of James Pizzirusso and Amy Keller as Interim Lead Counsel and Edward F. Haber

as Interim Liaison Counsel. Pl. McMahon’s Mot. to Appoint Interim Co-Lead Counsel

(“McMahon’s Mot.”) [Doc. No. 26].

 II.        Standard

        Prior to determining whether to certify an action as a class action, the court “may

designate interim counsel to act on behalf of a putative class[.]” Fed. R. Civ. P. 23(g)(3). Rule

23(g)(3) identifies no particular requirements for interim designation, but elsewhere Rule 23 lists

four factors courts must consider when finally approving class counsel at the time of class

certification:

        (i) the work counsel has done in identifying or investigating potential claims in
        the action;

                                                 2
          Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 3 of 13




       (ii) counsel’s experience in handling class actions, other complex litigation, and
       the types of claims asserted in the action;
       (iii) counsel’s knowledge of the applicable law; and
       (iv) the resources that counsel will commit to representing the class.

Fed. R. Civ. P. 23(g)(1)(A).

       Additionally, the court “may consider any other matter pertinent to counsel’s ability to

fairly and adequately represent the interests of the class[.]” Fed. R. Civ. P. 23(g)(1)(B).

       [T]he primary responsibility of class counsel, resulting from appointment as class
       counsel, is to represent the best interests of the class. The rule thus establishes the
       obligation of class counsel, an obligation that may be different from the
       customary obligations of counsel to individual clients. Appointment as class
       counsel means that the primary obligation of counsel is to the class rather than to
       any individual members of it.

Id. advisory committee’s notes to 2003 amendment. “If more than one adequate applicant seeks

appointment, the court must appoint the applicant best able to represent the interests of the

class.” Fed. R. Civ. P. 23(g)(2).

       If a class includes subclasses with divergent interests, each subclass should be treated as a

class, Fed. R. Civ. P. 23(c)(4) advisory committee’s notes to 1966 amendment, and “[c]lass

counsel must be appointed for all classes, including each subclass that the court certifies to

represent divergent interests[,]” Fed. R. Civ. P. 23(g)(1)(A) advisory committee’s notes to 2003

amendment. The Manual for Complex Litigation (“MCL”) suggests other relevant considerations

in selecting the applicant best able to represent the interests of the class include “involvement in

parallel cases in other courts; [] any existing attorney-client relationship with a named party; and

[] fee and expense arrangements that may accompany the proposed appointment.” Manual for

Complex Litigation (Fourth) § 21.271 (2004).

       Additional factors suggested for consideration in multidistrict or other complex cases

include “qualifications, functions, organization, and compensation of designated counsel”;


                                                  3
            Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 4 of 13




“whether there has been full disclosure of all agreements and understandings among counsel”;

“would-be designated attorneys’ competence for assignments”; “whether there are clear and

satisfactory guidelines for compensation and reimbursement, and whether the arrangements for

coordination among counsel are fair, reasonable, and efficient”; “whether designated counsel

fairly represent the various interests in the litigation”; “the attorneys’ resources, commitment,

and qualifications to accomplish the assigned tasks”; and “the attorneys’ ability to command the

respect of their colleagues and work cooperatively with opposing counsel and the court[.]” Id.

§ 10.224. The MCL suggests further that the court seeks to ensure that counsel appointed to

leading roles are “qualified and responsible, that they will fairly and adequately represent all of

the parties on their side, and that their charges will be reasonable.” Id. § 10.22; id. § 10.221 (the

most important goal as to the organizational structure is “achieving efficiency and economy

without jeopardizing fairness to the parties”).

III.        Discussion

       A.      Overview of the Consolidated Action

       In considering the appointment of interim class counsel, the court starts with the

procedural posture of the litigation. Although fifteen separate actions were filed, Plaintiffs have

committed to filing a single, consolidated complaint, Pls.’ Mot. to Consolidate [Doc. No. 19],

and the court has endorsed this approach, Order Granting Pls.’ Mot. To Consolidate [Doc. No.

21].

       Turning to the potential size and complexity of the action, Plaintiffs allege that ZOLL

failed to adhere to adequate data security practices allowing a malicious third party to gain

unauthorized access to the internal computer network housing sensitive data maintained by

ZOLL, including the personal identifying information (“PII”) and protected health information



                                                  4
            Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 5 of 13




(“PHI”) of over one million putative class members. Mem. ISO Plaintiffs’ Unopposed Motion to

Consolidate 3 [Doc. No. 20]. Plaintiffs seek to represent a nationwide class. See, e.g., Class

Action Complaint [Doc. No. 1] (proposing a class of “[a]ll persons residing in the United States

whose PII or PHI was impacted by the Data Exposure—including all persons that Defendant sent

a notice of the Data Exposure to”).

       With this background, the court turns to the relevant factors.

       B.      Mandatory Factors

               1. The Work Counsel Have Done in Identifying or Investigating Potential
                  Claims in the Action

       The Smith Plaintiffs’ motion states that “immediately after the public announcement of

the data breach[,]” their proposed interim class counsel (Jean S. Martin, Terence R. Coates, and

Jason M. Leviton) “began investigating potential legal claims and remedies for the victims of the

breach,” including “[i]nvestigating the facts surrounding the data breach;” “[i]nterviewing

numerous consumers injured by the data breach;” “[r]esearching legal claims;” “[d]rafting initial

pleadings . . . ;” and “[i]nvestigating experts in the area of data security and damages[.]” Smith

Pls.’ Mot. 7 [Doc. No. 24]. Attorney Martin states further that she and members of her firm

“have already commenced substantive development of Plaintiffs’ claims and investigation of the

factual circumstances surrounding the data breach.” Decl. of Jean S. Martin ISO Coordinated

Pls.’ Mot. to Appoint Interim Class Counsel (“Martin Decl.) ¶ 16 [Doc. No. 24-1]. Attorney

Martin is counsel of record on the Complaint filed in Smith v. ZOLL Medical Corporation, No.

1:23-cv-10575, on March 15, 2023, and on the Complaint filed in Jury v. ZOLL Medical

Corporation, No. 1:23-cv-10657, on March 27, 2023. Attorney Coates is counsel of record on the

Complaint filed in Priddy v. ZOLL Medical Corporation, No. 1:23-cv-10588, on March 16,

2023. And Attorney Leviton is counsel of record on the Complaint filed in Gerth v. ZOLL


                                                 5
          Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 6 of 13




Medical Corporation, No. 1:23-cv-10616, on March 21, 2023, Brown v. ZOLL Medical

Corporation, No. 1:23-cv-10702, on March 31, 2023, and Pacholczak v. ZOLL Medical

Corporation, No. 1:23-cv-10755, on April 10, 2023.

       Plaintiff Jamie Calvert’s Proposed Lead Counsel Ben Barnow states in his declaration

that he and other attorneys at his firm “have dedicated time and resources to this litigation,

including investigating the relevant law, the background facts of the data breach, and [ZOLL]

….” Decl. of Ben Barnow ISO Application to Appoint Ben Barnow as Interim Lead Counsel and

David Pastor as Interim Liaison Counsel (“Barnow Decl.”) ¶ 14 [Doc. No. 25-1]. Barnow and

Proposed Interim Liaison Counsel David Pastor are counsel of record on the Complaint filed in

Calvert v. ZOLL Medical Corporation, No. 1:23-cv-10620, on March 22, 2023.

       Plaintiff Patricia McMahon’s motion states that her proposed Interim Lead Class Counsel

“independently conducted their own thorough investigation of the data breach[.]” McMahon’s

Mot. 3 [Doc. No. 26]. McMahon’s Motion provides no further details on the investigation.

Proposed Interim Lead Counsel James Pizzirusso and Proposed Interim Liaison Counsel Edward

F. Haber are counsel of record on the Complaint filed in Patricia McMahon v. ZOLL Medical

Corporation, No. 1:23-cv-10784. Proposed Interim Lead Counsel Amy Keller does not appear to

have been counsel of record prior to the filing of the motion for appointment.

       In sum, other than Attorney Keller, all counsel reportedly performed work investigating

or identifying potential claims in the action, but none has provided details regarding any

substantial work performed. Attorney Martin and Attorney Leviton are counsel of record on two

and three complaints, however, representing the investigation of facts relating to five different

plaintiffs, while the remaining proposed interim counsel are counsel of record on the complaints




                                                 6
          Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 7 of 13




filed by a single Plaintiff each. Accordingly, this factor weighs slightly in favor of the

appointment of Martin and Leviton.

               2. Counsel’s Experience and Knowledge

       All of the proposed interim class counsel have extensive experience in handling class

actions and other complex litigation. All of the proposed lead or co-lead class counsel also have

extensive experience in handling data breach class actions and knowledge of the applicable law.

The court finds this factor supports all of the applications and weighs in favor of the court’s

strong recommendation that whoever is appointed interim lead counsel should utilize the

remaining proposed interim class counsel to “perform non-duplicative work consistent with their

expertise and talents[,]” as suggested in McMahon’s Mot. [Doc. No. 26] at 12.

               3. Committed Resources

       Attorney Martin states that her law firm, Morgan & Morgan “is among the largest, if not

the largest, exclusively Plaintiff’s law firms in the United States, employing over 800 lawyers

and 2,000 support staff serving consumers across the country.” Martin Decl. ¶ 3 [Doc. No. 24-1].

Attorney Martin states further that she and her law firm “are fully and unequivocally committed

to this action and the time-consuming task of prosecuting this litigation to conclusion, and even

to trial.” Id. ¶ 20. The three attached firm resumes for the Smith Plaintiffs’ proposed Interim

Class Counsel are offered in support of the assertion that they “have the resources to see this

litigation through to its conclusion, including trial.” Smith Pls.’ Mot. 14 [Doc. No. 24], Ex. A-C

[Doc. No. 24-2, 24-3, 24-4]. As to committed resources, the motion states that the proposed

interim Class Counsel “are . . . expected to pay assessments when necessary to ensure that

adequate funds are available to prosecute this litigation[,]” Smith Pls.’ Mot. 14 [Doc. No. 24],

and that while they “have not made any agreements with each other with respect to funding,

cost-sharing, pooling clients, fees, or any other matter[,]” “[e]ach will be required to make

                                                  7
           Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 8 of 13




contributions to fund the litigation, and they will not accept any third-party litigation funding to

do so[,]” id. at 17.

        Calvert’s motion states that proposed interim lead counsel Barnow and his firm “have at

their disposal the resources and manpower required to vigorously prosecute this litigation, as

they have shown in many other class action lawsuits.” Calvert’s Mot. 6 [Doc. No. 25]. Attorney

Barnow states further that he and his firm “are prepared to spend all the necessary time and

resources to ensure the best representation for plaintiffs and the putative class.” Barnow Decl.

¶ 15 [Doc. No. 25-1]. Attorney Barnow’s declaration and the attached firm resume provides

details on counsel’s extensive experience and past case successes but includes no further details

regarding the funding of the litigation. See Barnow Decl. [Doc. No. 25-1].

        McMahon’s motion states that her proposed interim class counsel’s firms have “ample

resources to prosecute this litigation, from discovery through motion practice, trial, and appeals.”

McMahon’s Mot. 14 [Doc. No. 26]. Attorney Pizzirusso’s firm, Hausfeld LLP, has 170 lawyers

world-wide and Attorney Keller’s firm, DiCello Levitt, has offices in eight cities and has

doubled in size recently. Id. at 15. The attached resumes document the extensive experience of

counsel. The McMahon application includes no details as to the funding of the litigation.

        In sum, on this factor, the court finds that both the Smith Plaintiffs’ motion and

McMahon’s motion demonstrate that sufficient resources may be available for the litigation, but

only the Smith Plaintiffs’ motion affirmatively commits to funding the litigation without third-

party funding. Smith Pls.’ Mot. 17 [Doc. No. 24].




                                                  8
            Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 9 of 13




       C.      Additional Considerations

               1. Existing Attorney-Client Relationship with a Named Party

       As previously noted, at the start of the litigation, Attorney Martin and Attorney Leviton

were counsel of record on two and three complaints, respectively. The Smith Plaintiffs’ motion

to appoint Martin, Leviton and Coates was submitted on behalf of thirteen Plaintiffs.

       Attorney Barnow and Attorney Pastor have an attorney-client relationship only with

Plaintiff Calvert. See Calvert’s Mot. [Doc. No. 25].

       Attorney Pizzirusso, Keller and Haber have an attorney client-relationship only with

Plaintiff McMahon. See McMahon’s Mot. [Doc. No. 26].

       In sum, this factor weighs in favor of the Smith Plaintiffs’ proposed class counsel.

               2. No Diverse Interests

       In some complex litigation, diverse interests exist among the parties, such that separate

counsel must be appointed to represent subclasses, or a committee of counsel should be

appointed to represent different interests between plaintiffs. See MCL § 21.27. Here, while

McMahon’s application suggests that the court appoint a committee of counsel and both

McMahon’s and the Smith Plaintiffs’ applications seek appointment of two lead counsel, no

application has identified any divergent interests among subclasses necessitating separate class

counsel or any reason for more than one interim lead class counsel. Instead, interim class counsel

will be obligated to “fairly and adequately represent the interests of the [putative] class[,]” that

is, the entire putative class as defined in the anticipated consolidated complaint. Id.

               3. Coordination

       There does, however, remain a need for coordination of counsel representing individual

Plaintiffs. The Smith Plaintiffs’ proposed interim class counsel have demonstrated their ability to

coordinate efforts in filing the motion to consolidate cases that all Plaintiffs’ counsel joined, and

                                                  9
          Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 10 of 13




their own motion to appoint counsel, which counsel in thirteen of the fifteen cases joined. See

Pls.’ Mot. to Consolidate [Doc. No. 19]; Smith Pls.’ Mot. [Doc. No. 24]. While all of the

proposed liaison counsel appear qualified to perform this liaison task, the Smith Plaintiffs’

proposed interim liaison counsel, Jason Leviton, already has a direct attorney-client relationship

with three of the Plaintiffs, and the support of thirteen. See Smith Pls.’ Mot. [Doc. No. 24].

               4. Diversity

       McMahon’s motion asserts that her proposed counsel “reflect the diversity of the bar and

the class.” McMahon’s Mot. 7 [Doc. No. 26]. The court agrees that “‘diversity enhances the

quality of the decision-making process and results[,]’” id. at 16 (quoting James F. Humphreys

Complex Litig. Ctr., George Wash. Law Sch., Inclusivity and Excellence: Guidelines and Best

Practices for Judges Appointing Lawyers to Leadership Positions in MDL and Class-Action

Litigation (Mar. 15, 2021)), and acknowledges that women attorneys have not been granted

leadership roles at rates similar to those for men, id. The court addresses this disparity in part by

appointing Attorney Martin as lead class counsel rather than co-lead class counsel, and by urging

her to keep in mind the considerable benefits of diversity of experience, skills, and backgrounds

in choosing counsel to perform the work necessary to best represent the class.

               5. Fee / Work protocol

       The Smith Plaintiffs’ motion states that interim lead counsel “will establish a

standardized protocol for managing and reporting time and expenses incurred to prosecute the

case as efficiently as possible.” Smith Pls.’ Mot. 7 [Doc. No. 24]. McMahon’s motion provides

greater details, including a Proposed Time and Expense Protocol. McMahon’s Mot. Ex. E [Doc.

No. 26-5]. The court appreciates the specificity of the proposal and will require the appointed

interim lead counsel to use such a protocol, but does not find the proposal itself a significant

factor for the selection of counsel.

                                                 10
          Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 11 of 13




                  6. Proposed Duties of Interim Class Counsel

        Calvert’s motion includes a proposed order appointing interim lead counsel and interim

liaison counsel. Calvert’s Mot. Ex. 3 [Doc. No. 25-3]. Again, the court appreciates the specificity

of the proposed order and will include the detailed responsibilities in this order but does not find

the proposal itself a significant factor for the selection of counsel.

IV.          Conclusion

        For the above reasons, the court orders as follows:

        A.        The court appoints Jean S. Martin as interim lead class counsel to act on behalf of

a putative class of all persons residing in the United States whose PII or PHI was impacted by the

Data Exposure—including all persons to whom Defendant sent a notice of the Data Exposure.

Attorney Martin shall lead the litigation and assure its orderly prosecution, with the following

responsibilities:

             1.     selecting and overseeing interim class counsel (including, where appropriate, the

                    other proposed interim lead class counsel) (“selected interim class counsel”) to

                    perform work at her direction on behalf of Plaintiffs and the putative class,

                    taking into consideration their expertise and talents and the considerable benefits

                    of diversity of experience, skills, and backgrounds;

             2.     supervising selected interim class counsel in preparation, drafting, finalizing,

                    and filing of all pleadings, briefs, motions, and other papers on behalf of

                    plaintiffs and the putative class;

             3.     supervising selected interim class counsel in initiating, coordinating, and

                    conducting all pretrial discovery for the benefit of plaintiffs and the putative

                    class, including causing the issuance of interrogatories, document requests,

                    requests for admission, subpoenas, and examining witnesses at depositions;
                                                     11
Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 12 of 13




      personally conducting or supervising selected interim class counsel in

      conducting all settlement negotiations on behalf of plaintiffs and the putative

      class;

 4.   acting as the spokesperson for plaintiffs and the putative class at scheduling and

      status conferences and pretrial proceedings in response to the court’s inquiries,

      subject to any right of individual plaintiffs’ counsel to present non-repetitive,

      individual, or different positions as directed by the court;

 5.   personally conducting or supervising selected interim class counsel in

      conducting trial and post-trial proceedings;

 6.   consulting with and employing consultants and experts as deemed appropriate;

 7.   negotiating and entering into stipulations with Defendant regarding the

      litigation;

 8.   directing the activities of selected interim class counsel to ensure that schedules

      are met and unnecessary expenditures of time and money are avoided;

 9.   coordinating and communicating with Defendant’s counsel with respect to

      the matters addressed in this paragraph;

 10. interim lead counsel shall prepare a time and expense protocol that she and

      selected interim class counsel shall follow to manage and control time expended

      and expenses incurred, shall apprise the court of that protocol and the status of

      the litigation, and shall allow the court to review work being performed at her

      direction by submitting quarterly time and expense reports to the court for in

      camera review; and




                                      12
          Case 1:23-cv-10575-IT Document 30 Filed 01/25/24 Page 13 of 13




            11. performing such functions as may be expressly authorized by further orders of

                  the court.

       B.        The court appoints Jason M. Leviton as Interim Liaison Counsel with the

responsibilities set forth below:

            1.    communicate with the court, on behalf of Interim Lead Counsel,

                  concerning scheduling and other administrative matters;

            2.    receive and distribute to plaintiffs’ counsel, as appropriate, Orders, notices,

                  and correspondence from the court, to the extent such documents are not

                  electronically filed; and

            3.    receive and distribute to plaintiffs’ counsel, as appropriate, discovery,

                  pleadings, correspondence, and other documents from Defendant’s counsel

                  that are not electronically filed.

       C.        Plaintiffs shall file a consolidated complaint within thirty (30) days of this order.

       IT IS SO ORDERED.


       January 25, 2024                                         /s/Indira Talwani
                                                                United States District Judge




                                                   13
